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1    SCOTT N. CAMERON
     Attorney at Law
2    1007 7th Street, Suite 319
     Sacramento, California 95814
3    Telephone: (916) 442-5230
4    Attorney for:
     ISRAEL BALLARDO
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6
7                       IN THE UNITED STATES DISTRICT COURT
8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,     )       CASE NO.    2:10-cr-00078 MCE
                                   )
11                   Plaintiff,    )       STIPULATION AND ORDER CONTINUING
                                   )       STATUS CONFERENCE
12        v.                       )
                                   )
13   ISRAEL BALLARDO               )
     aka Ernesto Franco Alvarez,   )       DATE:     July 7, 2011
14        and                      )       TIME:     9:00 a.m.
     FREDDY LOAIZA                 )       COURT:    Hon. Morrison England, Jr.
15                                 )
                     Defendants.   )
16   ______________________________)
17
18                                   Stipulation
19         The parties, through undersigned counsel, stipulate that the
20   status conference, scheduled for July 7, 2011, may be continued to
21   August 4, 2011, at 9:00 a.m. Counsel for defendant Ballardo needs the
22   additional time requested in this stipulation to compose an offer of
23   settlement to the government. Composing the offer involves legal
24   research to justify the offer and locating supporting facts in the
25   discovery.   As a result, the defense needs additional time before a
26   meaningful status conference can be held.
27   ///
28   ///

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1    The parties also agree that time may be excluded from the speedy trial
2    calculation under the Speedy Trial Act for counsel preparation,
3    pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4.
4         The parties have authorized the defense counsel for Israel
5    Ballardo to sign this stipulation on their behalf.
6
7    DATED: July 1, 2011                       BENJAMIN WAGNER
                                               United States Attorney
8
9                                     by       /s/ Scott N. Cameron, for
                                               Jill Thomas
10                                             Assistant U.S. Attorney
11
     DATED: July 1, 2011
12                                    by       /s/ Scott N. Cameron
                                               Scott N. Cameron
13                                             Counsel for ISRAEL BALLARDO
14
     DATED: July 1, 2011
15                                    by       /s/ Scott N. Cameron, for
                                               Dina Santos
16                                             Counsel for FREDDY LOAIZA
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1                                          Order
2         Good cause appearing,
3         The status conference, scheduled for July 7, 2011, is continued
4    to August 4, 2011, at 9:00 a.m.
5         Time is excluded from the speedy trial calculation pursuant to 18
6    U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4 for counsel preparation.
7    The Court finds that the ends of justice to be served by granting the
8    continuance   outweigh   the   best    interests   of   the   public   and   the
9    defendant in a speedy trial.
10        IT IS SO ORDERED.
11
     Dated: July 11, 2011
12
13                                         _____________________________
14                                         MORRISON C. ENGLAND, JR.
                                           UNITED STATES DISTRICT JUDGE
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